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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division


UNITED STATES OF AMERICA,et al, )
                                             )
       Plaintiffs,                           )
                                             )
V.                                           )        No. l:23-cv-00108-LMB-JFA
                                             )
GOOGLE LLC,                                  )
                                             )
       Defendant.                            )

                     [PnOPOOEDj ORDER REGARDING ELECTRONICALLY
                              STORED INFORMATION ("ESI")

        WHEREAS,Rule 26(f) of the Federal Rules of Civil Procedure states that the parties must

develop a proposed discovery plan that states the parties' views and proposals on, among other things,

"any issues about disclosure, discovery, or preservation of electronically stored information, including

the form or forms in which it should be produced," Fed. R. Civ. P. 26(f)(3)(C);

       WHEREAS,the parties mutually seek to reduce the time, expense, and other burdens of

discovery of certain electronically stored information ("ESI") and privileged materials, as described

further below, and to better define the scope of their obligations with respect to preserving such

information and materials;

       WHEREAS,the parties are aware of the importance of cooperation and commit to cooperate in

good faith throughout the matter to promote the "just, speedy, and inexpensive determination" of this

action, as required by Fed. R. Civ. P. 1. The parties agree to use reasonable, good faith, and

proportional efforts to preserve, identify and produce relevant and discoverable information consistent

with Fed. R. Civ. P. 26(b)(1). The parties' cooperation includes identifying appropriate limits to

eDiscovery, including limits on custodians, identifying relevant and discoverable subject matter,

establishing time periods for eDiscovery and other parameters to limit and guide preservation and

eDiscovery issues;
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     NOW THEREFORE, it is hereby ORDERED:

I.    GENERAL PROVISIONS

     1. Except as specifically set forth herein, this Order does not alter or affect the applicability of

        the Federal Rules of Civil Procedure or Local Rules for the United States District Court for

        the Eastern District of Virginia.

     2. The production specifications set forth in this Stipulation and Order apply to Documents

        and ESI that is to be produced in the first instance in the above-captioned litigation. This

        Stipulation and Order do not apply to materials previously produced to any Plaintiff as part

        of a pre-complaint investigation. No Party is obligated to reformat any such prior

        production in accordance with the production specifications in this Stipulation and Order.

        The production specifications set forth in this Stipulation and Order do not apply to

        databases, data sources, logs, and other structured data except as described in paragraph M

        below.

     3. “Action” means the action filed in this Court under the caption United States, et al. v.

        Google LLC, 23-cv-00108-LMB-JFA, as well as any additional actions subsequently

        transferred and/or centralized with this Action, including any related discovery, pretrial,

        trial, post-trial, or appellate proceedings. For the avoidance of doubt, “Action” excludes

        pre-Complaint investigations by Plaintiffs.

     4. The parties agree to meet and confer to the extent that new plaintiff states are added later to

        the litigation and those states request reasonable modifications to these production

        specifications.

     5. The term “Federal Agency Advertisers” (“FAAs”) has the meaning set forth in paragraph

        6.A of the Joint Proposed Discovery Plan at ECF 87, as adopted by the Court in the

        Scheduling Order at ECF 94.
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II.    PRESERVATION

      1. Materials To Be Preserved. Each Party will continue its retention practices with regards to

         all Documents and ESI and will take reasonable and proportionate steps to preserve

         relevant and discoverable ESI in compliance with duties to preserve material under the

         Federal Rules of Evidence and the Federal Rules of Civil Procedure. Upon mutual

         agreement of the parties, a party will modify its retention practices to ensure the

         preservation of potentially responsive Documents and ESI.

      2. To reduce the costs and burdens of preservation and to ensure proper ESI is preserved, the

         parties agree that:

         a. Parties shall preserve non-duplicative relevant electronically stored information in their

             possession, custody, or control.

         b. Subject to and without waiving any protection described above, the parties agree that:

             i.      The parties will endeavor to agree upon a date limitation for the preservation of

                     ESI;

             ii.     The parties will endeavor to agree upon a list of the types of relevant ESI they

                     believe should be preserved and the custodians for whom they believe relevant

                     ESI should be preserved. The parties shall add or remove custodians as

                     reasonably necessary.

      3. The Court concludes that the following categories of ESI are not reasonably accessible in

         this litigation and orders that they need not be preserved, searched, collected, or reviewed.

         The parties will continue to meet and confer regarding any additional categories of

         information that are not reasonably accessible.

         a. Back-up systems used for disaster recovery and tapes used for disaster recovery;

         b. Individual user data subject to routine disposition required by privacy regulations;
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           c. Information from handsets, mobile devices, personal digital assistants, and tablets that

               is duplicative of information that resides in a reasonably accessible data source;

           d. Logs of calls made from cellular phones;

           e. Voicemail messages;

           f. Slack, fragmented, or unallocated data accessible only by forensics;

           g. Data stored in random access memory (“RAM”), temporary files, or other ephemeral

               data that are difficult to preserve without disabling the operating system;

           h. Data in metadata fields that are frequently updated automatically, such as last-opened

               or last modified dates;

           i. Ad logs created prior to April 19, 2023; 1

           j. Systems no longer in use that cannot be accessed as of the date the preservation

               obligation was triggered; and

           k. Information created or copied during the routine, good-faith performance of processes

               for the deployment, maintenance, retirement, and/or disposition of computer equipment

               by the party that is duplicative of information that resides in a reasonably accessible

               data source.

       4. Nothing in this Stipulation and Order prevents any party from asserting, in accordance with

           the Federal Rules of Civil Procedure, that other categories of Documents or ESI are not

           reasonably accessible. 2

       5. The parties agree to preserve ESI in such a way that it can be produced in a reasonably

           usable form in accordance with Federal Rule of Civil Procedure 34(b)(2)(E)(ii).



1
  The parties agree to meet and confer regarding a relevant and proportionate set of ad logs in the May
and June 2023 timeframe to be sampled and/or preserved.
2
  The parties have met and conferred and have been unable to reach agreement as to whether the
following types of ESI are not reasonably accessible: (a) Online access data such as temporary or
cache files, including internet history, web browser cache and cookie files, wherever located, (b)
Server, system, or network logs; and (c) Dynamic fields of databases, dashboards, or log files.
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       6. Preservation Does Not Affect Discoverability or Claims of Privilege. By preserving

          Documents and ESI for the purpose of this litigation, the Parties are not conceding that

          such material is discoverable, nor are they waiving any claim of privilege.

III.    COLLECTION AND REVIEW

       1. The parties agree that in responding to an initial Fed. R. Civ. P. 34 request, they will meet

          and confer about methods to search ESI in order to identify ESI that is subject to

          production in discovery and filter out ESI that is not subject to discovery.

       2. The parties will meet and confer in good faith regarding search terms or use of technology-

          assisted review or a similar tool (collectively “TAR”) to identify responsive documents. In

          the event a party elects to use search terms, if a requesting party objects to the sufficiency

          of the producing party's terms, the requesting Party may propose modifications or a list of

          additional terms. The parties will meet and confer in good faith regarding any proposed

          changes. Any disputes over search terms that cannot be resolved between the parties during

          a meet and confer may be consequently raised with the Court.

       3. Nothing in this Order may be construed or interpreted as precluding a producing party from

          performing a responsiveness review to determine if documents captured by search terms

          are in fact relevant to the requesting party's request. Nothing in this Order precludes a party

          from using TAR, or some other method to fulfill their document production obligations,

          provided that the party discloses to the other party the process used and complies with the

          meet and confer obligations outlined in this Order. However, a producing party that wishes

          to use TAR in conjunction with search terms must meet and confer with the receiving party

          before using this method to collect and review documents and prior to negotiation of search

          terms. Nothing may be construed or interpreted as precluding a producing party from

          performing a privilege review of documents determined to be relevant by any means.

          Further, nothing in this Order shall be construed or interpreted as requiring the production
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        of all documents captured by any search term or TAR if that document is in good faith and

        reasonably deemed not relevant to the requesting party’s request or privileged.

     4. Each party will use its best efforts to filter out common system files and application

        executable files by using a commercially reasonable hash identification process. Hash

        values that may be filtered out during this process are located in the National Software

        Reference Library ("NSRL") NIST hash set list.

     5. De-Duplication. Each party is required to produce only a single copy of a responsive

        document. A producing party electing to deduplicate shall deduplicate across Custodians

        and at the family-level only (i.e., if there are identical child documents that have different

        parents, they are not duplicative, and an attachment to a document is not a duplicate of the

        same document maintained as a standalone document). Each party may de-duplicate

        responsive ESI (based on Source Hash, MD5 hash values, or other industry standard

        method) across Custodians. For emails with families, the hash value is generated based on

        the parent/child document grouping. To the extent that deduplication through hash values is

        not possible, the parties shall meet and confer to discuss any other proposed method of

        deduplication. A producing party must make reasonable effort to identify all agreed upon

        custodians who were in possession of any de-duplicated documents through an appropriate

        load file field such as All Custodians. Additionally, all BCC recipients whose names would

        have been included in the BCC metadata field, to the extent such metadata exists, but are

        excluded because of horizontal/global de-duplication, must be identified in the BCC

        metadata field specified in Appendix 1. In the event of rolling productions of documents or

        ESI, the producing party will, as needed, supplement the load files with updated All

        Custodian information, as well as BCC information to the extent such metadata exists.

        Duplicate custodian information may be provided by a metadata overlay and will be

        provided by a producing party on an ongoing basis.
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      6. Email Threading. Production of a most inclusive email thread does not relieve the

          Producing Party of its obligation to produce responsive prior or lesser-included emails. No

          document shall be withheld from production solely on the basis that it is included in a

          produced more-inclusive email.

      7. Cooperation. The Parties agree to work together in good faith to resolve any differences

          that they may have over the Producing Party's use of search terms or TAR, or a

          combination of the search terms and TAR, or some other method, or for documents that

          cannot be searched electronically.

      8. Filtering. If a producing party proposes to apply other filters to limit Documents and ESI

          that is collected for processing and review (e.g., filters that identify system files, non-user

          generated files, or zero-byte files), the producing party shall advise the requesting party and

          the requesting and producing parties shall meet and confer regarding such additional

          proposed filters.

Each Party shall use its institutional knowledge of how its ESI is stored and accessed in the

ordinary course of business to identify responsive Documents. This institutional knowledge

includes, but is not limited to, a Party’s standard practices regarding the storage of ESI, its file

organization structure, its usage of group ownership, group accounts, and shared network

locations to manage or organize ESI.

IV.    PRODUCTION FORMAT

      1. Subject to paragraph I.2 above, the parties agree to produce documents in the formats

          described in Appendix 1 to this Order. If particular documents warrant a different format,

          the parties will cooperate to arrange for the mutually acceptable production of such

          documents. The parties agree, to the extent practicable, not to materially degrade the

          searchability of the documents as part of the document production process.
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    V.    PRIVILEGE LOGS

         1. Any Producing Party will produce a privilege log within 45 days after each production. 3

            Except as provided otherwise below, for any Document withheld or redacted, the

            Producing Party will produce privilege logs in MS Excel (.xlsx) format.

         2. If any member of a produced Document Family is withheld on grounds of privilege or

            work-product, the Producing Party shall produce a Bates stamped placeholder slipsheet that

            identifies the Document as withheld as privileged and shall identify the Document in the

            Privilege Log by the Bates number on the placeholder slipsheet.

         3. Privilege logs shall be provided containing the following information, to the extent

            reasonably available:

            a. A sequential or control number associated with each entry in the privilege log;

            b. Where applicable, BegBates and Parent BegBates;

            c. The Custodian or Custodial or Non-Custodial Data Source from which the Document

                was collected;

            d. The name of each person who sent, authored, or otherwise prepared the Document;

            e. The identity of each person designated as an addressee or copyee, including CC and

                BCC (copyees and blind copyees shall appear in separate fields);

            f. The date;

            g. A description, pursuant to Federal Rule of Civil Procedure 26(b)(5)(A)(ii), of the

                contents of the withheld Document that, without revealing information that is itself

                privileged or protected, is sufficient to enable other Parties to understand the general

                subject matter of the Document and assess the basis of the claim of privilege or other

                protection from disclosure;



3
 The parties will meet and confer over an appropriate date for producing a privilege log relating to
documents produced by Google prior to the filing of the complaint.
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        h. To the extent reasonably available, the name of the attorney(s) and legal organization

            who provided the legal advice at issue, from whom the legal advice at issue is

            requested, who directed the facilitation of the legal advice at issue, and/or who

            requested or prepared the Document;

        i. The nature of the privilege or protection asserted (i.e., attorney-client privilege, work

            product doctrine).

     4. If a Producing Party contends that all Documents of a particular type or category are

        privileged, or requiring the creation of an individualized privilege log is not reasonable or

        proportionate for documents of a particular type or category, they shall meet and confer

        with the Receiving Party on identifying such Documents on a privilege log by category

        rather than individually. The Receiving Party shall consider any such request in good faith.

        The Producing Party’s categorical privilege log entry must still provide the Requesting

        Party, and the Court if necessary, with information sufficient to evaluate the Producing

        Party’s privilege claims.

     5. A single document containing multiple email messages (i.e., in an email chain) may be

        logged as a single entry.

     6. Each entry on a privilege log must indicate each person, group, or entity who was acting in

        a legal capacity with respect to that particular Document.

     7. If the Producing Party contends that more than one basis for withholding applies to a single

        Document, all bases must be asserted in the privilege log.

     8. Exclusions. To the extent any of the following Documents are privileged or otherwise

        protected from disclosure by Federal Rule of Civil Procedure 26(b)(3)-(4), they may be

        excluded from privilege logs:

        a. Documents or communications sent solely between outside counsel for the Defendant

            (or persons employed by or acting on behalf of such counsel);
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           b. Documents or communications sent solely between counsel for the United States (or

              persons employed by the United States Department of Justice);

           c. Documents or communications sent solely between counsel for the United States (or

              persons employed by the United States Department of Justice) and counsel for any state

              (or persons employed by any the office of the attorney general of any state);

           d. Documents or communications sent solely between outside counsel for Defendant and

              inside counsel for Defendant;

           e. Documents or communications sent solely between counsel for the United States (or

              persons employed by the United States Department of Justice) and counsel for any

              Federal Agency Advertiser; 4

           f. Documents or communications sent solely between counsel for any state and counsel

              for another state (or persons employed by the office of the attorney general any state);

           g. Documents or communications sent solely between counsel within any state (or persons

              employed by the office of the attorney general of any state);

           h. Documents or communications dated after January 24, 2023 and privileged solely on

              the basis that they relate to the prosecution or defense of this Action;

           i. Documents that are non-discoverable or excluded from privilege log obligations under

              the Expert Stipulation; and

           j. Documents that are not required to be logged under Section V(8)(g) of the ESI Order

              governing the multidistrict litigation captioned as In re Google Digital Advertising




4
  With respect to specific requests for production, the parties agree to meet and confer regarding
whether this subsection (e) should apply to documents or communications sent solely between counsel
for the United States (or persons employed by the United States Department of Justice) and counsel for
federal government agencies other than the FAAs.
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              Antitrust Litigation that is pending in the U.S. District Court for the Southern District

              of New York under docket number 21-md-03010-PKC. 5

       9. If a Document contains both privileged and non-privileged communications, the non-

           privileged communications must be produced, either by separately producing a copy of the

           non-privileged communications embedded in the privileged communication, or by

           producing a copy of the entire communication string with the privileged portion(s)

           redacted. The redactions shall be narrowly applied so the Receiving Party has the ability to

           discern to the maximum extent practicable the privilege assertion within the Document and

           to view all non-privileged communications and material.

       10. Redactions based on relevance or responsiveness or confidentiality are disallowed. 6 For the

           avoidance of doubt, (a) to the extent that any Document contains or reflects Source Code,

           as defined by the Protective Order, ECF No. 98, such Document will be governed by

           Appendix C of that Order, and (b) nothing in this Order prevents any party from redacting

           personal data and personally identifying numbers or sensitive information from produced

           documents, consistent with the requirements under Federal Rule of Civil Procedure 5.2 and

           Local Rules. The Parties do not waive any objections to the production, discoverability,

           admissibility, or confidentiality of Documents.

       11. If a Document is produced with redactions, the redactions must not obscure any header

           information (e.g., from, to, subject, sent date) of any emails or other communications

           reflected in the Document, except to the extent that information is privileged.

       12. A Party who, pursuant to a request under Federal Rule of Civil Procedure 34 or a non-

           party, pursuant to a request under Federal Rule of Civil Procedure 45, re-produces



5
  Nothing in this order precludes any party from moving, upon a showing of good cause, to modify
these exclusions with respect to specific requests for production.
6
  The parties agree to meet and confer if one of the FAAs claims that producing certain documents on
an unredacted basis would affect national security.
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           Documents from other matters, may produce privilege logs relating to that production in

           the manner they were produced in such other matters, so long as the privilege logs comply

           with Federal Rule of Civil Procedure 26(b)(5)(A). The party shall, however, reproduce

           these logs in Excel fonnat upon request if reasonably possible to do so.

  VI.    MISCELLANEOUS PROVISIONS

        I. Motions. The parties shall raise discovery disputes in accordance with this Court's Local

           Rules.

        2. Costs of Document Production. Unless this Court orders otherwise for good cause shown,

           each party and non-patty shall bear the costs of collecting, processing, reviewing, and

           producing its own documents.

        3. Integration/Appendices. The following documents are incorporated herein by reference:

           a. "Appendix l" is a document describing the production format and fields to be included



                                          "' lrp,r, I
               in the documents produced by each party.


 IT IS HEREBY SO ORDERED this �day of                              , 2023.



                                                                   Isl �
                                                           John F. Anderson
                                                     United States Magistrate Judge
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                            APPENDIX 1: PRODUCTION FORMAT

 A.     Production Components. Except as otherwise provided below, ESI shall be produced

 in accordance with the following specifications:

       1. An ASCII delimited data file (.DAT) with ASCII 020 for the comma character and

           ASCII 254 for the quote character and ASCII174 for new line character, with all

           values in a multi-value field separated by a semi-colon ASCII 059 (with the use of

           commas and quotes as delimiters not acceptable using standard delimiters) and

           encoded in UTF-8;

       2. An image load file (.OPT) that can be loaded into commercially acceptable production

           software (e.g. Concordance). The Image Load File shall contain the following comma-

           delimited fields: BEGBATES, VOLUME, IMAGE FILE PATH, DOCUMENT

           BREAK, FOLDER BREAK, BOX BREAK, PAGE COUNT;

       3. TIFF images;

       4. Document level .TXT files for all documents containing extracted full text or OCR text;

       5. Parent-child relationships will be maintained in production and child files should be

           produced consecutively following parent files and shall be sequentially Bates stamped.

           The Producing Party shall ensure the metadata fields for BegAttach and EndAttach

           referenced in Parts D and E of this Appendix A are accurately populated;

       6. Document families must be produced, even if only the parent email or an attachment to

           an email is responsive, except (1) common system files and application executable

           files pursuant to paragraph III.4 above, and (2) documents that are withheld on the

           basis of attorney-client privilege or work product protection. For the avoidance of

           doubt, documents that are linked are not part of the same family for purposes of this

           Order. Linked documents are governed by Section K below.
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        If a particular document or category of documents warrants a different production format,

 for example if it is impractical to produce an entire document family for particular documents, the

 parties will cooperate in good faith to arrange for a mutually acceptable production format.

 B.     Production Media and Access Controls. Documents shall be produced through

 electronic means, such as the DOJ’s secure file sharing method (JEFS) or on CD, DVD, flash

 drive or external hard drive ("Production Media"). Each piece of Production Media shall

 identify a production number corresponding to the production volume (e.g. "VOL001"). Each

 piece of Production Media shall also identify: (a) the producing party's name; (2) the production

 date; (3) the Bates Number range of the materials contained on the Production Media.

        Nothing in this Order will preclude or impair any and all protections provided the parties

 by any Protective Order(s) agreed and entered into by the parties. Any data produced by the

 producing party must be protected in transit, in use, and at rest by all in receipt of such data.

 Parties will use best efforts to avoid the unnecessary copying or transmittal of produced

 documents. Any copies made of produced data must be kept on media or hardware employing

 whole-disk or folder level encryption or otherwise secured on information systems and networks

 in a manner consistent with the best practices for data protection. If questions arise, Parties will

 meet and confer to ensure security concerns are addressed prior to the exchange of any

 documents.

 C.    Data Load Files/Image Load Files. All production items will be provided with a

 delimited data file or "load file," which will include both an image cross-reference load file

 (such as an Opticon file) and a metadata (.dat) file with the metadata fields identified below on

 the document level to the extent available. Each TIFF in a production must be referenced in the

 corresponding image load file. The total number of documents referenced in a production's data

 load file should match the total number of designated document breaks in the image load file(s)

 in the production. The total number of pages referenced in a production's image load file should
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    match the total number of TIFF files in the production. All images must be assigned a unique

    Bates number that is sequential within a given document and across the production sets. The

    Bates numbers in the image load file must match the corresponding documents’ beginning Bates

    numbers in the data load file. The total number of documents in a production should match the

    total number of records in the data load file. Load files shall not vary in format or structure

    within a production, or from one production to another.

    D.     Metadata Fields—Google and Non-Parties. With the exception of hard copy paper

    documents, which are separately addressed in paragraph N below, and except as provided in

    I.2, Google and non-parties shall produce each of the metadata and coding fields set forth

    below to the extent that it is reasonably practicable to do so. Google and non-parties are not

    obligated to populate manually any of the fields below if such fields cannot be extracted from

    a document, with the exception of the following: (a) BEGBATES, (b) ENDBATES, (c)

    BEGATTACH, (d) ENDATTACH, (e) CUSTODIAN, (f) ALLCUSTODIANS, (g)

    CONFIDENTIALITY, (h) REDACTIONS, (i)

    NATIVEFILEPATH, and (j) TEXTFILEPATH, which should be populated by Google or the

    non-party, or the respective vendor. Google and non-parties will make reasonable efforts to

    ensure that metadata fields automatically extracted from the documents correspond directly to the

    information that exists in the original documents.

                    Field Name 7                            Field Description

      BEGBATES                                              Beginning Bates number as stamped on the
                                                            production image
      ENDBATES                                              Ending Bates number as stamped on the
                                                            production image
      BEGATTACH                                             First production Bates number of the first
                                                            document in a family

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  Field names can vary from system to system and even between different versions of systems. Thus,
Parties are to be guided by these Field Names and Field Descriptions when identifying the metadata
fields to be produced for a given document pursuant to this ESI Protocol Order.
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  ENDATTACH                                 Last production Bates number of the last
                                            document in a family
  CUSTODIAN                                 Individual from whom the document originated
  ALLCUSTODIAN(S)                           Individual(s) whose documents de-duplicated out

  CONFIDENTIALITY                           Confidentiality designation assigned to
                                            document
  MD5 HASH VALUE                            MD5 hash value of document
  SOURCE HASH VALUE                         Google Drive Source hash value
  AUTHOR                                    Any value populated in the Author field of
                                            the document and/or Google Drive properties
                                            (Edoc or attachment only)
  DATECREATED                               Date the document was created (format:
                                            MM/DD/YYYY) (Edoc or attachment only)
  DATEMODIFIED                              Date when document was last modified
                                            according to filesystem information (format:
                                            MM/DD/YYYY) (Edoc or attachment only)

  FROM                                      The name and email address of the sender of the
                                            email
  TO                                        All recipients that were included on the "To" line
                                            of the email
  CC                                        All recipients that were included on the "CC"
                                            line of the email
  BCC                                       All recipients that were included on the "BCC"
                                            line of the email
  ATTACHMENT COUNT                          Number of Attached Documents

  ATTACHMENT NAME                           File name of the document attachment or
                                            embedded document; associate with the
                                            parent/email which lists any and all filenames of
                                            the children/attachments delimited by a
                                            semicolon. The field would be populated for
                                            parent documents (not for the children)
  ATTACHMENTID                              The IDs of the documents that are attached to the
                                            produced document
  COMPANIES                                 Globally populated field containing the name of
                                            producing party (not the law firm or vendor
                                            name). Not pulled from metadata.
  DATE CREATED                              Date the electronic file was created. Format:
                                            MM/DD/YYYY.
  TIME CREATED                              Time the electronic file was created (format:
                                            HH:MM:SS)
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  DATERECEIVED                              Date email was received (format:
                                            MM/DD/YYYY)
  DATESENT                                  Date email was sent (format: MM/DD/YYYY)
  DATESTART                               Start date and time of calendar appointments,
                                          voice messages, chats, text message
                                          conversations. Format: MM/DD/YYYY
                                          HH:MM:SS (use 24 hour times, e.g., 13:32:00
                                          for 1:32 pm); time zone indicators cannot be
                                          included.
  DATEEND                                 End date and time of calendar appointments,
                                          voice messages, chats, text message
                                          conversations. Format: MM/DD/YYYY
                                          HH:MM:SS (use 24 hour times, e.g., 13:32:00
                                          for 1:32 pm); time zone indicators cannot be
                                          included.
  DOCUMENT TYPE                           The file type for Google files. See
                                          https://support.google.com/vault/answer/60994
                                          59#drivexml&zippy=%2Cfile-parameters-in-
                                          the-metadata-file.
  DOC LINK                                Metadata tying linked and linking documents,
                                          per Section K, below.
  FILESIZE                                The original file size of the produced document
  ORIGINATING PATH                      File path of the file as it resided in its original
                                        environment. For email, the full folder path of
                                        email within a mail store when collected,
                                        including file name; or full folder path of instant
                                        message or text message when collected including
                                        file name; or Hard Copy folder/binder title/label.
                                        Prepend with Custodian Name (sample: Smith,
                                        James-Inbox\Active). For other documents, the
                                        full absolute original path to the native, including
                                        original file name and root directory as they
                                        existed in their original environment, such that all
                                        information needed to locate the file is in the path.
                                        Prepend with
                                        recognizable Custodian Name; e.g. Smith, James-
                                        C\MyDocuments\Sales Info\ACME\2017-
                                        Monthly- Sales.xlsx
  REDACTIONS                                Indicate Yes if a document is redacted. If no
                                            leave blank.
  NATIVE LINK                               Native File Link (Native Files only)
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   EMAIL THREAD ID                                      Unique identification number that permits
                                                        threading of email conversations. For instance,
                                                        MS Outlook identification number ("PR
                                                        CONVERSATION INDEX") is 22
                                                        bytes in length, followed by zero or more
                                                        child blocks each 5 bytes in length, that
                                                        facilitates use of email threading. (Microsoft
                                                        application documents only)
   TEXTFILEPATH                                         Path to extracted text/OCR file for document
   EMAILSUBJECT                                         Subject Line of email
   TIMESENT                                             Time email was sent
   TIMEZONEUSED                                         Time zone used to standardize
                                                        date/time during document processing

   RECEIVETIME                                          Time email was received
   FILENAME                                             File Name of the edoc or email
   TITLE                                                Any value populated in Title field of the
                                                        document properties
   SUBJECT                                              Any value populated in the Subject field of the
                                                        document properties
   DOCEXT                                               File extension of the document
   WITHHELD PLACEHOLDER                                 To the extent a document is fully withheld (on
                                                        the basis of privilege or otherwise), this field
                                                        must be populated with a "Y". If not applicable
                                                        leave blank.
   TECHNICAL ISSUE PLACEHOLDER                          To the extent a file is withheld on the basis of a
                                                        technical issue, this field must be populated
                                                        with a "Y". If not applicable leave blank.
   VOLUMENAME                                           Unique production volume identifier applied
                                                        (e.g., ABC001-001).
   PAGECOUNT                                            For Documents produced in TIFF form, number
                                                        of pages in the Document. For Documents
                                                        produced in native, page count will
                                                        be 1 (for placeholder)

 E.     Metadata Fields—Plaintiffs. With the exception of hard copy paper documents, which

 are separately addressed in paragraph N below, and except as provided in I.2, Plaintiffs shall

 produce documents containing the following metadata, where such metadata is reasonably

 available. Plaintiffs are not obligated to populate manually any of the fields below if such fields

 cannot be extracted from a document, with the exception of the following: (a) BEGBATES, (b)
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 ENDBATES, (c) BEGATTACH, (d) ENDATTACH, (e) CUSTODIAN, and (f) FILEPATH,

 which should be populated by Plaintiffs or the Plaintiffs’ vendor. Plaintiffs will make reasonable

 efforts to ensure that metadata fields automatically extracted from the documents correspond

 directly to the information that exists in the original documents.


 Field Name     Field Description                       Field Type Hard    Email   Other   Calend IMs,
                                                                   Copy            ESI     ar     Texts,
                                                                                           Items Chats
 DOCID      The unique sequential document control      Note Text     ✔     ✔       ✔         ✔    ✔
            number of the first page of the document.
            Cannot contain spaces or special
            characters.
 ENDDOC     The unique sequential control number of the Note Text     ✔     ✔       ✔       ✔       ✔
            last page of the document. Cannot
            contain spaces or special characters.
 COMPANIES Globally populated field containing the      Multi-        ✔     ✔       ✔       ✔       ✔
            name of producing party (not the law firm   Entry
            or vendor name). Not pulled from
            metadata.
 CUSTODIAN Name of the individual, or                   Note Text     ✔     ✔       ✔       ✔       ✔
            group/department for shared resources,
            from whose files the document
            originated. Format: Last, First or ABC
            Dept. Use consistent
            naming and formatting across all
            productions.
 ALLCUSTODI All custodians who were in possession of a Multi-         ✔     ✔       ✔       ✔       ✔
 ANS        deduplicated document, including the        Entry
            person or group identified in the
            CUSTODIAN field. Format: Last, First or
            ABC Dept. Use consistent naming and
            formatting across all productions.
 MEDIAID    The unique identifier applied to each       Note Text     ✔     ✔       ✔       ✔       ✔
            physical piece of media delivered (e.g.,
            ABC001).
 VOLUMENA Unique production volume identifier           Note Text     ✔     ✔       ✔       ✔       ✔
 ME         applied (e.g., ABC001-001).
 BEGATTACH Used for documents in a family               Note Text     ✔     ✔       ✔       ✔       ✔
            group (e.g. an email with
            attachments). Populated with the
            document control number of the
            parent document. Populated for
            each child document as well as
            the parent document.
 ENDATTACH Used for documents in a family group         Note Text     ✔     ✔       ✔       ✔       ✔
            (e.g. an email with attachments).
            Populated with the ENDDOC of the last
            child record in the family group.
            Populated for each child document as well
            as the parent document.
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 EPROPERTIES Indicates record type, privilege,            Multi-      ✔      ✔   ✔      ✔     ✔
             translation and other notations. Include     Entry
             all that apply, only the applicable record
             type or notation category names should
             be entered:
             Record Type: Edoc, Edoc Attachment,
             Email, Email Attachment, Hard Copy,
             Calendar, Text Message, Text
             Attachment, IM, Chat, Chat Attachment,
             Audio, Video, Voicemail
             Other Notations: Placeholder,
             Translation, Translated
             Privilege Notations: Redacted, Privileged,
             Family Member of Priv Doc
 TIMEZONE    The TimeZone in which the custodian is       Note Text          ✔   ✔      ✔     ✔
             normally located.

 FOLDERLABE Full folder path of email within a mail       Multi-      ✔      ✔          ✔     ✔
 L          store when collected, including file name;    Entry
            or full folder path of instant message or
            text message when collected including
            file name; or Hard Copy folder/binder
            title/label. Prepend with Custodian Name
            (sample: Smith, James-Inbox\Active).
 FROM       Sender of the Email, Instant Message,         Note Text          ✔          ✔     ✔
            Text Message, Chat, or Calendar item.

 TO         Primary recipients of the Email, Instant      Multi-             ✔          ✔     ✔
            Message, Text Message, Chat, or               Entry
            Calendar Item. Separate multiple entries
            with a semi-colon followed by a space.
 CC         Copyees of the Email, Instant Message,        Multi-             ✔          ✔     ✔
            Text Message, Chat or Calendar Item.          Entry
            Separate multiple entries with a semi-
            colon followed by a space.
 BCC        Blind Copyees of the Email, Instant           Multi-             ✔          ✔     ✔
            Message, Text Message, Chat or                Entry
            Calendar Item. Separate multiple entries
            with a semi-colon followed by a space.
 SUBJECT    Subject line of the Email, Instant            Note Text          ✔          ✔     ✔
            Message, Text Message, Chat, calendar
            item, or Notes item.
 DATEHC     Date of hard copy documents, if coded.        Date        ✔
            Format: MM/DD/YYYY. Leave time
            segment blank.
 DATESENT   Date and time the Email, Instant              Date-Time          ✔          ✔     ✔
            Message, Text Message, Chat or
            Calendar Item was sent. Format:
            MM/DD/YYYY HH:MM:SS (use 24
            hour times, e.g., 13:32:00 for
            1:32 pm); time zone indicators cannot be
            included).
 DATERECEIV Date and time the Email, Instant              Date-Time          ✔          ✔     ✔
 ED         Message, Text Message, Chat or
            Calendar Item was received. Format:
            MM/DD/YYYY HH:MM:SS (use 24
            hour times, e.g., 13:32:00 for 1:32 pm);
            time zone indicators cannot be included.
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                                                 1150
 HEADER          The internet header information from       Note Text          ✔          ✔
                 each Email.

 INTERNETMS Internet message ID assigned by the             Note Text          ✔          ✔
 GID        outgoing mail server which typically
            includes messageid and a domain name.
            Example:
            0E6648D558F338179524D555@m1p.inn
            ovy.net
 MESSAGEID Unique identifier of email messages in           Note Text          ✔          ✔
            mail stores. EntryID for Microsoft
            Outlook, the UniqueID (UNID) for Lotus
            Notes, or equivalent value for other
            proprietary mail store formats.
 INREPLYTOI Internet message ID of the Email being          Note Text          ✔          ✔
 D          replied to.

 CONVERSATI Conversation index value for Microsoft          Note Text          ✔          ✔
 ONINDEX    Exchange emails.

 IMPORTANCE Indicates priority level set for message.       Note Text          ✔          ✔     ✔


 DELIVERYRE Delivery receipt request notification for       Note Text          ✔          ✔
 CEIPT      Email messages.

 READRECEIP      Read Receipt request notification for      Note Text          ✔          ✔
 T               Email messages.

 SENSITIVITY     Sensitivity field from Email messages or   Note Text          ✔          ✔
                 calendar items.

 REVISION        Revision number extracted from metadata    Note Text              ✔
                 of native file.

 DATECREATE Date and time the electronic file was           Date-Time              ✔            ✔
 D          created. Format: MM/DD/YYYY
            HH:MM:SS (use 24 hour times, e.g.,
            13:32:00 for 1:32 pm); time zone
            indicators cannot be
            included).
 DATESAVED Date and time the electronic file was last       Date-Time              ✔            ✔
            modified. Format: MM/DD/YYYY
            HH:MM:SS (use 24 hour times, e.g.,
            13:32:00 for 1:32 pm); time zone
            indicators
            cannot be included.
 EORGANIZAT "Company" field value pulled from the           Note Text              ✔
 ION        metadata of a native file.

 EAUTHOR         Author field value pulled from the         Note Text              ✔
                 metadata of a native file.

 LASTAUTHO       Last Saved By field value pulled from      Note Text              ✔
 R               metadata of a native file.
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 ESUBJECT        Title or Subject field value pulled from        Note Text              ✔
                 metadata from electronic file.

 FILENAME        Original file name of the native file,          Note Text          ✔   ✔      ✔     ✔
                 including file extension.

 APPLICATION Application used to create or transmit the          Note Text          ✔   ✔      ✔     ✔
             original native files, document, message,
             appointment (e.g., WhatsApp, Excel,
             Slack, Outlook, Snapchat, Word, Twitter,
             Gmail, Tango).
 FILEEXTENSI File extension of original native file; e.g.        Max 5              ✔   ✔      ✔
 ON          XLSX, PDF, DOCX                                     chars

 FILEPATH        Full qualified original path to the native      Multi-             ✔   ✔      ✔
                 when collected, including original file         Entry
                 name. Prepend with recognizable
                 Custodian Name; e.g. Smith, James-
                 C\My
                 Documents\Sales Info\ACME\2017-
                 Monthly-Sales.xlsx
 DOCLINK         File path location to the current native file   Note Text              ✔
                 location on the delivery medium.

 DATESTART       Start date and time of calendar                 Date-Time                     ✔     ✔
                 appointments, voice messages, chats, text
                 message conversations. Format:
                 MM/DD/YYYY HH:MM:SS (use 24
                 hour times, e.g., 13:32:00 for 1:32 pm);
                 time zone indicators cannot be included.
 DATEEND         End date and time of calendar                   Date-Time                     ✔     ✔
                 appointments, voice messages, chats, text
                 message conversations. Format:
                 MM/DD/YYYY HH:MM:SS (use 24
                 hour times,
                 e.g., 13:32:00 for 1:32 pm); time zone
                 indicators cannot be included.
 ACCOUNT         Unique account ID                               Note Text                           ✔


 DURATION        The elapsed time of the audio, video,           Note Text              ✔
                 voice message. Format HH:MM:SS

 DIRECTION   Identifies direction of communication or            Note Text                           ✔
             other routing information; Outgoing,
             Incoming.
 TXT-        Name of chat room used in the                       Note Text                           ✔
 CHATROOMN communications.
 AME
 TXT-        List of participant names and/or                    Note Text                           ✔
 PARTICIPANT telephone numbers.
 S
 TXT-BODY    Body of text messages, instant messages,            Note Text                           ✔
             notes, or chats. Do not populate for
             emails or calendar items.
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 TXT-STATUS    Indicates whether text was Sent or Read      Note Text                                 ✔
               on the device.

 TXT-          Populate with the DOCID of the first text    Note Text                                 ✔
 THREAD-       in a conversation or chat.
 GROUP
 HASHMD5       Document MD5 hash value (used for            Note Text          ✔   ✔        ✔         ✔
               deduplication or other processing).

 HASHSHA       Document SHA hash value (used for            Note Text          ✔   ✔        ✔         ✔
               deduplication or other processing).

 SPECNO        Subpoena/request paragraph number to         Multi-      ✔      ✔   ✔        ✔         ✔
               which the document is responsive.            Entry

 SEARCHVAL     Specific search terms used to identify the   Multi-      ✔      ✔   ✔        ✔         ✔
 UES           record as responsive (if used).              Entry




 F.    TIFFs. Documents that exist only in hard copy format shall be scanned and produced as

 TIFFs. Documents that exist as ESI shall be converted and produced as TIFFs, except as

 provided below. The imaged data shall retain all attributes of the native or hard-copy file to the

 extent reasonably practicable. To the extent reasonably practicable, produced TIFF images will

 show all text and images that are visible in the form in which the electronic document was last

 saved, with the exception of redacted portions. Hidden content, tracked changes or edits,

 comments, notes, and other similar information, shall to the extent reasonably practicable, be

 produced in native or Microsoft-equivalent format, or be imaged so that such content is viewable

 on the image file.

 Where hidden content, tracked changes or edits, comments, notes, or other similar information is

 not readable in its produced format, a party that received the document may make reasonable

 requests that a more readable version, such as a native or Microsoft-equivalent version, be

 produced when helpful to interpret the contents of the relevant document. To the extent a

 response to discovery requires production of Document(s) accessible only through proprietary or

 enterprise software, the Parties shall meet and confer to finalize the appropriate production

 format. Unless excepted below, single page, black and white, Group IV TIFFs should be
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 provided, at least 300 dots per inch (dpi) for all documents, with corresponding multi-page text

 and necessary load files. Each TIFF image shall be named according to a unique corresponding

 Bates number associated with the document. Each image shall be branded according to the Bates

 number and the agreed upon confidentiality designation. Original document orientation should be

 maintained (i.e., portrait to portrait and landscape to landscape). Documents that are difficult to

 render in TIFF because of technical issues, or any other documents that are impracticable to

 render in TIFF format, may be produced in their native format with a placeholder TIFF image

 stating "Document Produced Natively." A producing party retains the option to produce ESI in

 alternative formats if so agreed by the requesting party, which may include native format, or a

 combination of native and TIFF formats. For future productions of documents responsive to

 properly propounded requests issued pursuant to Fed. R. Civ. P. 34 and 45, the producing party

 will make reasonable efforts to identify documents with readability issues in advance of

 production and, where issues are detected, to produce the document(s) in a more readable format

 (such as in native or Microsoft-equivalent form). The foregoing provisions of Section F do not

 apply to Investigation Materials (as defined in the governing Confidentiality Order, ECF No.

 297) or other cloned discovery. To the extent that Investigation Materials or other cloned

 discovery contain documents responsive to properly propounded requests issued pursuant to Fed.

 R. Civ. P. 34 and 45 where the TIFF image is unreadable or has materially degraded the quality

 of the original, the producing party shall, when requested and where possible and proportionate,

 provide a higher quality TIFF image, or the native, Microsoft-equivalent, or original file. The

 provisions of this Section F apply to any type of document (including emails, presentations,

 spreadsheets, and other types of documents).

G.      Color. A party that received a production may make reasonable requests that color images

be produced where color is helpful to interpret the contents of the relevant document. The

production of documents and/or ESI in color shall be made in single-page JPEG format (300 DPI).
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    All requirements for productions stated in this ESI Protocol regarding productions in TIFF format

    apply to any productions of documents and/or ESI in color made in such an alternative format.

    Reasonable requests that a document be produced in color for the reasons set forth in this

    Paragraph will not be unreasonably denied by the producing party. If a producing party wishes to

    object, it may do so by responding in writing and setting forth its objection(s) to the production of

    the requested document in color.

    H.     Text Files. A single multi-page text file shall be provided for each document, and the

    filename should match its respective TIFF filename. When possible, the text of native files should

    be extracted directly from the native file. Text files will not contain the redacted portions of the

    documents. A commercially acceptable technology for optical character recognition "OCR" shall

    be used for all scanned, hard copy documents and for documents with redactions. All Documents

    shall be produced with a link in the TextLink metadata field.

    I.     Native Files. Spreadsheets (e.g. MS Excel) will be produced in native format unless

    redacted. In the event spreadsheets require redactions, they shall be produced in Microsoft-

    equivalent format (.xls, .xlsx).8 If a Requesting Party reasonably determines that a redacted file is

    not reasonably usable, the Requesting Party and the Producing Party will discuss an alternative

    method to produce the file in a reasonably usable format. To the extent that they are produced in

    this action, audio, video, and multi-media files will be produced in native format. Native files shall

    be produced with a link in the NATIVEFILEPATH field, along with extracted text (where

    extracted text is available) and applicable metadata fields set forth in paragraphs D or E above. A

    Bates numbered TIFF placeholder indicating that the document was provided in native format

    must accompany every native file.




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  If a large number of excels require redaction, the parties agree to meet and confer to agree upon
reasonable modifications to this paragraph to facilitate the production of those documents.
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 J.     Request for Other Native Files. Other than as specifically set forth above, a producing

 party need not produce documents in native format. If a party would like a particular document

 produced in native format and this ESI protocol does not require the production of that document

 in its native format, the party making such a request shall explain the reason for its request that

 the document be produced in its native format. The requesting party will provide a specific Bates

 range for documents it wishes to be produced in native format. The producing party need only

 produce such a document in native format if reasonably practicable. Any native files that are

 produced should be produced with a link in the Native Link field, along with all extracted text and

 applicable metadata fields set forth in Sections D and E of this Appendix 1.

 K.     Linked Files and Collaborative Work Environments. For documents responsive to

 properly propounded requests issued pursuant to Fed. R. Civ. P. 34 or 45, the producing party

 shall conduct an automated search across all emails to be produced, where the producing party has

 access to a tool capable of performing such an automated search, to identify any emails that

 contain links to another document and will conduct a reasonable search for the document

 corresponding with each identified link. A receiving party may also make reasonable and

 proportionate requests that the producing party conduct a reasonable search for relevant

 documents identified via hyperlinks. For each link identified by the receiving party, the producing

 party shall conduct a reasonable search for the document corresponding with the link. The

 producing party shall process and produce relevant documents corresponding with the links with

 reasonably available metadata. For documents produced pursuant to this Section K, the producing

 party is not required to conduct any further search of documents corresponding with the links. The

 provisions of this Section K apply to any type of document (including emails, presentations,

 spreadsheets, and other types of documents). For documents produced pursuant to this Section K,
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    the producing party shall produce DOC LINK metadata as defined in Sections D and E of this

    Appendix 1. 9

    L.     Confidentiality Designation. Responsive documents in TIFF format will be stamped with

    the appropriate confidentiality designations in accordance with the Protective Order entered in this

    matter. Each responsive document produced in native format will have its confidentiality

    designation identified in the filename of the native file and indicated on its corresponding TIFF

    placeholder.

    M.     Databases, Data Sources, Logs, and Other Structured Data. The parties shall meet and

    confer regarding the production format and scope of data contained in databases, data sources, and

    logs in order to ensure that any information produced is reasonably usable by the receiving party

    and that its production does not impose an undue burden on the producing party. To avoid doubt,

    information will be considered reasonably usable when produced in Parquet or other commonly

    utilized electronic formats, including CSV format, other character-delimited text format, Microsoft

    Excel format, or Microsoft Access format. To the extent a party is constrained from producing

    responsive ESI because of a third-party license or because software necessary to view the ESI is

    hardware-dependent, the parties shall meet and confer in an attempt to reach an agreement on

    whether alternative methods exist to enable the requesting party to view the ESI.

    N.     Paper Documents. A producing party may make paper documents available for inspection

    and copying in accordance with Federal Rules of Civil Procedure 34 and 45 or, additionally or

    alternatively, scan and OCR paper documents. The following information shall be produced in the

    load file accompanying production of paper documents produced by scan and OCR to the extent

    reasonably practicable: (a) Beg Bates, (b) End Bates, (e) Custodian, (f) Confidentiality, (g)

    Redacted; (h) BegAttach (if applicable), (i) EndAttach (if applicable), (l) TextLink, (m)


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 Alternatively, for a document where an email has a hyperlink to another document, the producing
party may produce the email with the hyperlinked document as an attachment.
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 HashValue. Paper documents should be logically unitized for production to the extent reasonably

 practicable. Generally, when scanning paper documents for production, distinct documents shall

 not be merged into a single record and single documents shall not be split into multiple records.

 The parties will make reasonable efforts to unitize documents correctly. Where a document or a

 document group — such as a folder, clipped bundle, or binder—has an identification spine or

 other label, the information on the label shall be scanned and produced as the first page of the

 document or grouping to the extent reasonably practicable.

 O.     Date and Time. No party shall modify the date or time as contained in any original ESI.

 This provision does not prevent parties from deleting inaccurate date or time information that

 arises as an incident of collection or processing.

 P.     Time Zone. To the extent reasonably practicable, ESI items shall be processed using a

 consistent time zone and the time zone shall be disclosed to the requesting party.

 Q.     Auto Date/Time Stamps. To the extent reasonably practicable, ESI items shall be

 processed so as to preserve the data/time shown in the document as it was last saved, not the date

 of collection or processing.

 R.     Hidden Text. ESI items shall be processed, to the extent practicable, in a manner that

 preserves hidden columns or rows, hidden text and fields, worksheets, speaker notes, tracked

 changes, and comments.

 S.     Bates Numbers. Bates number must always: (1) contain no special characters or

 spaces; 10 (2) for TIFF images, be sequential within a given Document; (3) identify the

 Producing Party; (4) maintain a constant length of nine numeric digits (including 0-padding)

 across the entire production; and (5) be unique across the entire production. Bates number

 must also maintain consistent numbering across a family of Documents. Bates numbers shall


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  For the avoidance of doubt, hyphens, dashes, and underscores are permitted and are not “special
characters” within the meaning of this provision.
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 not be applied in a way that causes the text of the original Document to be obscured, deleted,

 or removed. If the Document contains a Bates number from a prior lawsuit, investigation, or

 production, the Producing Party shall avoid obscuring the previous Bates number or

 alternatively, shall provide a metadata overlay allowing the Requesting Party to identify the

 corresponding Bates number.

 T.     Compression Files. Compression or container file types (e.g., .CAB, .GZ, .RAR. .ZIP),

 shall, where possible, be decompressed to ensure that a compressed file within a compression or

 container file are decompressed into the lowest possible compression resulting in individual

 folders and/or files. Original compression files and container files need not be produced,

 provided that all Documents within the compression or container file are produced in accordance

 with the specifications of this Order.

 U.     Password Protected/Encrypted Files. To the extent Documents are password-protected

 or encrypted, the requesting party may make reasonable requests for the producing party to

 process such Documents for review. To facilitate the identification of such documents, the

 producing party shall provide a slip-sheet for any document that failed to process because it was

 password-protected or encrypted. Any slip-sheet produced pursuant to this Appendix U shall

 indicate that the reason the document failed to process was password-protection or encryption, as

 applicable. The producing party shall use reasonable efforts to produce such documents where

 possible and proportionate to do so. The parties shall meet and confer to resolve any disputes

 arising under this Appendix U.
